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                             Schedule 2
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                                                         Schedule 2 - Non-Derivative Works with Unique Track Names




Cox Submission PX-01 # PX-02 #                            Artist                        Track            Reg. No. (SR)       SR Ex. No.       Reg. No. (MC)     MC Ex. No.                      Basis to Prove Not Derivaitve
    Ex. No.


ND Ex. 1       2639    194       Santana                                  All I Ever Wanted            SR0000013645        PX-1270 (RC)      PA0001131835      PX-678 (RC)    The date of first publication listed on the sound recording
                                                                                                                           PX-6693 (PC)                        PX-4768 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 2       1543    1402      Frank Sinatra & Celine Dion              All The Way                  SR0000311601        PX-1555 (RC)      PA0001933959      PX-3004 (RC)   The date of first publication listed on the sound recording
                                                                                                                           PX-7143 (PC)                        PX-6490 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 3       3942    1572      Ellie Goulding                           Animal                       SR0000752677        PX-2082 (RC)      PA0000669752      PX-2993 (RC)   A separate musical composition registration certificate
                                                                                                                           PX-7971 (PC)                        PX-4264 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001786670)
ND Ex. 4       3413    1583      Lady Antebellum                          Better Man                   SR0000724696        PX-1877 (RC)      PA0000663649      PX-2509 (PC)   A separate musical composition registration certificate
                                                                                                                           PX-7856 (PC)                        PX-4254 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001864843)
ND Ex. 5       5137    3121      Rick Ross                                Billionaire                  SR0000642144        PX-1972 (RC)      PA0001740847      PX-5620 (PC)   The date of first publication listed on the sound recording
                                                                                                                           PX-7549 (PC)      PA0001714525      PX-961 (RC)    registration significantly pre-dates the date of first publication
                                                                                                                                                               PX-5453 (PC)   listed on the music composition certificate

ND Ex. 6       2617    500       Raphael Saadiq                           Calling                      SR0000619872        PX-1658 (RC)      PA0001832167      PX-6134 (PC)   The date of first publication listed on the sound recording
                                                                                                                           PX-7452 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 7       4295    1274      Gotye                                    Easy Way Out                 SR0000692982        PX-2048 (RC)      PA0001015787      PX-3213 (RC)   A separate musical composition registration certificate
                                                                                                                           PX-7698 (PC)                        PX-4536 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001839611)
ND Ex. 8       253     2610      Jazmine Sullivan                         Fear                         SR0000618093        PX-1656 (RC)      PA0001000622      PX-3505 (RC)   A separate musical composition registration certificate
                                                                                                                           PX-7442 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001897132)
ND Ex. 9       2067    897       Lacuna Coil                              Fire                         SR0000700777        PX-7731 (PC)      PA0001896434      PX-6403 (PC)   The date of first publication listed on the sound recording
                                                                                                                                                                              registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 10      2604    2415      R. Kelly                                 Genius                       SR0000737850        PX-1808 (RC)      PA0001204546      PX-8196 (PC)   A separate musical composition registration certificate
                                                                                                                           PX-7920 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001933960)
ND Ex. 11      2797    1083      Teddy Pendergrass                        Girl You Know                SR0000019849        PX-1276 (RC)      PA0001395613      PX-3022 (RC)   The date of first publication listed on the sound recording
                                                                                                                           PX-6703 (PC)                        PX-5059 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 12      2344    2147      Montgomery Gentry                        Hell Yeah                    SR0000314295        PX-1557 (RC)      PA0001648815      PX-5259 (PC)   The date of first publication listed on the sound recording
                                                                                                                           PX-7148 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 13      3741    1643      Billy Currington                         Hey Girl                     SR0000772290        n/a               PA0001295883      PX-3129 (RC)   A separate musical composition registration certificate
                                                                                                                                                               PX-4961 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001884876)
ND Ex. 14      3130    2150      Chris Brown                              Hold Up                      SR0000630132        PX-1673 (RC)      PA0001741949      PX-3848 (RC)   The date of first publication listed on the sound recording
                                                                                                                           PX-7503 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                              listed on the music composition certificate

ND Ex. 15      1192    1668      Céline Dion                              Immortality                  SR0000248109        PX-1446 (RC)      PA0000663651      PX-2510 (PC)   A separate musical composition registration certificate
                                                                                                                           PX-7023 (PC)                        PX-4255 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                              PA0001013704)


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      MC - Musical Composition                                                                                1
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ND Ex. 16      6648    2183      My Chemical Romance                            Interlude                    SR0000360197        PX-3392 (RC)      PA0001807226      PX-3865 (RC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-7257 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 17      642     243       Usher                                          Intro                        SR0000620940        PX-1662 (RC)      PA0001159659      PX-731 (RC)    Certificates reference separate albums by the same artist
                                                                                                                                 PX-7466 (PC)                        PX-4860 (PC)


ND Ex. 18      2225    1108      MGMT                                           Kids                         SR0000670166        PX-1696 (RC)      PA0001773582      PX-5789 (PC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-7624 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 19      4578    1304      Kanye West                                     Last Call                    SR0000347391        PX-7228 (PC)      PA0000874060      PX-2786 (RC)   A separate musical composition registration certificate
                                                                                                                                                                     PX-4406 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                    the musical composition in suit with the same title (see
                                                                                                                                                                                    PA0001223562)
ND Ex. 20      1667    2203      Heatwave                                       Lay It On Me                 SR0000000875        PX-8410 (PC)      PAu002607508      PX-6610 (PC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-8411 (PC)      PA0001114110      PX-4734 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 21      6083    1463      The Cars                                       Let's Go                     SR0000010639        PX-3471 (RC)      PA0001825022      PX-6109 (PC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-6683 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 22      1004    721       Brandy                                         Long Distance                SR0000622255        PX-1665 (RC)      PA0001821287      PX-6073 (PC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-7474 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 23      241     2233      Hurricane Chris featuring Nicole Wray          Momma                        SR0000620403        PX-7463 (PC)      PA0001648755      PX-4075 (RC)




ND Ex. 24      5534    1126      Christina Perri                                my eyes (Bonus Track)        SR0000705202        PX-3412 (RC)      PA0001915209      PX-6454 (PC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-7759 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 25      5584    1987      Gnarls Barkley                                 Necromancer                  SR0000398345        PX-3293 (RC)      Eu0000236563      n/a            A separate musical composition registration certificate
                                                                                                                                 PX-7361 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                    the musical composition in suit with the same title (see
                                                                                                                                                                                    PA0001338252)
ND Ex. 26      965     2243      Brad Paisley                                   No                           SR0000639650        PX-1677 (RC)      PA0001628202      PX-4085 (RC)   A separate musical composition registration certificate
                                                                                                                                 PX-7535 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                    the musical composition in suit with the same title (see
                                                                                                                                                                                    PA0001644220)
ND Ex. 27      2524    2784      Pearl Jam                                      Oceans                       SR0000137787        PX-1391 (RC)      PA0001858843      PX-3782 (RC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-6908 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 28      5316    2251      The Black Eyed Peas                            Own It                       SR0000670148        PX-2011 (RC)      PA0001891427      PX-3675 (RC)   The date of first publication listed on the sound recording
                                                                                                                                 PX-7623 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate

ND Ex. 29      1023    783       Brandy featuring Chris Brown                   Put It Down                  SR0000710136        PX-1739 (RC)      PA0001787201      PX-5882 (PC)   A separate musical composition registration certificate
                                                                                                                                 PX-7785 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                    the musical composition in suit with the same title (see
                                                                                                                                                                                    PA0001852894)
ND Ex. 30      5084    807       Papa Roach                                     Scars                        SR0000661588        PX-1961 (RC)      PA0001708950      PX-956 (RC)    The date of first publication listed on the sound recording
                                                                                                                                 PX-7596 (PC)                        PX-5447 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                                    listed on the music composition certificate



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ND Ex. 31      4159    940       Feist                                                    Secret Heart                 SR0000374394        PX-2385 (RC)      PA0000807140      PX-3125 (PC)
                                                                                                                                           PX-7296 (PC)                        PX-4355 (PC)


ND Ex. 32      1335    134       Darren Hayes of Savage Garden                            So Beautiful                 SR0000386428        PX-1618 (RC)      PA0001624586      PX-849 (RC)    The date of first publication listed on the sound recording
                                                                                                                                           PX-7329 (PC)                        PX-5157 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                                              listed on the music composition certificate

ND Ex. 33      5873    1365      Shinedown                                                Son Of Sam                   SR0000673788        PX-3456 (RC)      PA0001015779      PX-3202 (RC)   A separate musical composition registration certificate
                                                                                                                                           PX-7644 (PC)                        PX-4529 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                                              PA0001686770)
ND Ex. 34      6071    3235      Nada Surf                                                The Plan                     SR0000225933        PX-7000 (PC)      PA0001874363      PX-1190 (RC)   The date of first publication listed on the sound recording
                                                                                                                                           PX-3436 (RC)      PA0001913727      PX-6323 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                               PX-6445 (PC)   listed on the music composition certificate

ND Ex. 35      1465    1920      Fabulous Thunderbirds                                    True Love                    SR0000076616        PX-1360 (RC)      PA0001817461      PX-2992 (RC)   The date of first publication listed on the sound recording
                                                                                                                                           PX-6844 (PC)                        PX-6052 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                                              listed on the music composition certificate

ND Ex. 36      227     1971      Heather Headley                                          Wait A Minute                SR0000382683        PX-7318 (PC)      PA0001697038      PX-3703 (RC)   The date of first publication listed on the sound recording
                                                                                                                                           PX-1611 (RC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                              listed on the music composition certificate

ND Ex. 37      5003    1777      Meat Loaf                                                What About Love              SR0000407287        PX-2180 (RC)      PA0000265040      PX-4191 (PC)   A separate musical composition registration certificate
                                                                                                                                           PX-7389 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                                              PA0001166348)
ND Ex. 38      4447    1782      Jessie J                                                 Who You Are                  SR0000674861        PX-7651 (PC)      PAu002141251      PX-6606 (PC)   A separate musical composition registration certificate
                                                                                                                                           PX-2311 (RC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                                              PA0001781112)
ND Ex. 39      1747    1784      Incubus                                                  Wish You Were Here           PA0001065849        PX-4621 (PC)      PA0001785767      PX-5870 (PC)   A separate musical composition registration certificate
                                                                                                                                           PX-1469 (RC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                                              PA0001038508_1 & PA0001038508_2)
ND Ex. 40      4651    2991      Keyshia Cole                                             Work It Out                  SR0000615233        PX-1869 (RC)      PA0001073475      PX-4665 (PC)   A separate musical composition registration certificate
                                                                                                                                           PX-7423 (PC)                                       demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                                              the musical composition in suit with the same title (see
                                                                                                                                                                                              PA0001396034)
ND Ex. 41      6059    3064      Keith Sweat                                              Make It Last Forever         SR0000086761        PX-3310 (RC)      PA0001375846      PX-777 (RC)    The date of first publication listed on the sound recording
                                                                                                                                           PX-6860 (PC)      PA0001166656      PX-5052 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                               PX-8284 (PC)   listed on the music composition certificate

ND Ex. 42      3367    97        Katy Perry                                               Mannequin                    SR0000638214        PX-2184 (RC)      PA0001888782      PX-6369 (PC)   The date of first publication listed on the sound recording
                                                                                                                                           PX-7531 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                              listed on the music composition certificate

ND Ex. 43      238     2048      Hurricane Chris featuring Big Poppa of Ratchet City &    Bang                         SR0000620403        PX-7463 (PC)      PA0001739089      PX-4052 (RC)   The date of first publication listed on the sound recording
                                 Bigg Redd                                                                                                                                                    registration significantly pre-dates the date of first publication
                                                                                                                                                                                              listed on the music composition certificate

ND Ex. 44      2536    2839      Pearl Jam                                                Release                      SR0000137787        PX-1391 (RC)      PA0001761877      PX-4019 (RC)   The date of first publication listed on the sound recording
                                                                                                                                           PX-6908 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                                              listed on the music composition certificate

ND Ex. 45      2655    746       Santana                                                  Mirage                       RE0000872000        PX-1498 (RC)      PA0001896025      PX-1198 (RC)   The date of first publication listed on the sound recording
                                                                                                                                           PX-6629 (PC)                        PX-6393 (PC)   registration significantly pre-dates the date of first publication
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      MC - Musical Composition                                                                                                3
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    Ex. No.


ND Ex. 46      3519    2140      2Pac                                    Hail Mary                    SR0000628433        PX-2127 (RC)      PA0001865861      PX-4033 (RC)   The date of first publication listed on the sound recording
                                                                                                                          PX-7495 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                             listed on the music composition certificate

ND Ex. 47      3788    3217      Blue October                            Let It Go                    SR0000388117        PX-2116 (RC)      PA0001951623      PX-6516 (PC)   The date of first publication listed on the sound recording
                                                                                                                          PX-7336 (PC)      PA0001874344                     registration significantly pre-dates the date of first publication
                                                                                                                                                                             listed on the music composition certificate

ND Ex. 48      4099    2022      Eminem                                  When I'm Gone                SR0000382840        PX-2375 (RC)      PA0001644615      PX-5234 (PC)   The date of first publication listed on the sound recording
                                                                                                                          PX-7319 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                             listed on the music composition certificate

ND Ex. 49      4397    2861      Jack Johnson                            Same Girl                    SR0000653690        PX-2308 (RC)      PAu003411255      PX-3958 (RC)   A separate musical composition registration certificate
                                                                                                                          PX-7574 (PC)                        PX-8477 (PC)   demonstrates that the sound recording in suit is not derivative of
                                                                                                                                                                             the musical composition in suit with the same title (see
                                                                                                                                                                             PA0001705832)
ND Ex. 50      5533    2743      Christina Perri                         mine                         SR0000704080        PX-3411 (RC)      PA0001918125      PX-3594 (RC)   The date of first publication listed on the sound recording
                                                                                                                          PX-7743 (PC)                                       registration significantly pre-dates the date of first publication
                                                                                                                                                                             listed on the music composition certificate

ND Ex. 51      5612    1868      Hootie & The Blowfish                   I Will Wait                  SR0000246482        PX-3425 (RC)      PA0001818830      PX-2973 (RC)   The date of first publication listed on the sound recording
                                                                                                                          PX-7019 (PC)                        PX-6065 (PC)   registration significantly pre-dates the date of first publication
                                                                                                                                                                             listed on the music composition certificate

ND Ex. 52      5670    2477      Kid Rock                                Amen                         SR0000622796        PX-3332 (RC)      PA0001842305      PX-3907 (RC)   The date of first publication listed on the sound recording
                                                                                                                          PX-7477 (PC)                                       registration significantly pre-dates the date of first publication
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